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AO 440(Rev. 06/12) Summons in a Civil Action


                                    United States District Court
                                                                 for the

                                                      Eastern District of New York



                 Karaite Laquintin Woodall




                           Plamtiff(s)
                               V.                                          Civil Action No. 23-cv-8885-DG-LB

      Caring Hospice Services of New York LLC.



                          Defendant(s)


                                                 SUMMONS IN A CIVIL ACTION


To:(Defendant's name and address) Caring Hospice Services of New York LLC.
                                         3039 Ave U
                                         Brooklyn, NY 11229




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
P. 12(a)(2) or(3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:              Karalle Woodall
                                         186- Rockaway Ave, Unit 2
                                         Brooklyn, NY 11223




          If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
                                                                                BRENNA B. MAHONEY
                                                                              CLERK OF COURT



Date:             12/04/2023
                                                                                        Signature ofClerk or Deputy Clerk
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Civil Action No. 23-cv-8885-DG-LB


                                                        PROOF OF SERVICE
                   (This section should not befiled with the court unless required by Fed. R. Civ. P. 4(I))

          This summons for (name ofindividual and title, ifany)
 was received by me on (date)

          □ I personally served the summons on the individual at (place)
                                                                              on (date)                             ; or


          □ I left the summons at the individual's residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual's last known address; or

          □ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name oforganization)
                                                                              on (date)                             ; or


          □ I returned the summons unexecuted because                                                                             ; or

          O Other (specify):




          My fees are $                         for travel and $                   for services, for a total of $          q.OO


          I declare under penalty of perjury that this information is true.



 Date:
                                                                                          Server's signature



                                                                                      Printed name and title




                                                                                          Server's address


 Additional information regarding attempted service, etc:
